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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 BRIANNA BOE, et al.,                         )
                                              )
        Plaintiffs,                           )
                                              )
 and                                          )
                                              )
 UNITED STATES OF AMERICA,                    )     Case No. 2:22-CV-00184-LCB
                                              )
        Plaintiff-Intervenor,                 )
                                              )
 v.                                           )
                                              )
 STEVE MARSHALL, in his official )
 capacity as Attorney General of the State of )
 Alabama, et al.,                             )
                                              )
        Defendants.

                      RESPONDENT SCOTT D. McCOY’S JOINDER

       Respondent Scott D. McCoy joins in, and adopts by reference, the following filings by

other Respondents:

       1.      To the extent applicable to him, Respondent McCoy joins in Objection to

Supplemental Orders to Show Cause by James Esseks, Carl Charles, and LaTisha Faulks filed on

May 8, 2024. (Doc. 493).

       2. Respondents’ (Melody H. Eagan and Jeffrey P. Doss) Motion to Alter or Amend Order

(dated March 18, 2024, Doc. 449 at 3) or, in the Alternative, Offer of Proof, filed on May 8, 2024

(Doc. 496). In its order of March 18, 2024, the Court denied the admission into evidence of the

expert testimony of Gregory P. Joseph. (Doc. 449). To the extent that the Court may permit the

admission into evidence of such expert testimony or other expert testimony, Respondent McCoy

adopts and offers into evidence all such expert testimony in response to this Court’s Show Cause


                                                                               Exhibit B
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Order dated May 1, 2024, and addressed to Respondent McCoy (Doc. 487). To the extent that the

Court declines to alter or amend its order of March 18, 2024, Respondent McCoy joins in the Offer

of Proof made by Respondents Eagan and Doss.

       3. Respondent Kathleen Harnett is expected to file on May 8, 2024 or thereafter, a Motion

to Alter or Amend the Order of this Court entered on March 18, 2024 (Doc. 449 at 3). In its order

of March 18, 2024, the Court denied the admission into evidence of the expert testimony of Clark

Cunningham. To the extent that the Court may permit the admission into evidence of such expert

testimony or other expert testimony, Respondent McCoy adopts and offers into evidence all such

expert testimony in response to this Court’s Show Cause Order dated May 1, 2024, and addressed

to Respondent McCoy (Doc. 487). To the extent that the Court declines to alter or amend its order

of March 18, 2024, Respondent McCoy joins in any Offer of Proof to be made by Respondent

Hartnett.

       Respectfully submitted this 8th day of May, 2024.


                                             s/ Robert D. Segall
                                             Robert D. Segall (ASB-7354-E68R)
                                             Shannon L. Holliday (ASB-5440-Y77S)
                                             Copeland Franco Screws & Gill, P.A.
                                             P. O. Box 347
                                             Montgomery, AL 36101-0347
                                             Phone: (334) 834-1180
                                             Fax: (334) 834-3172
                                             Email: segall@copelandfranco.com
                                             Email: holliday@copelandfranco.com
                                             Attorneys for Respondent Scott D. McCoy

                                CERTIFICATE OF SERVICE

        I certify that on May 8, 2024, I filed the foregoing electronically with the Clerk of Court
using the CM/ECF system, which will automatically serve all counsel of record.

                                                     /s/ Robert D. Segall
                                                     Of Counsel

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